Case 2:05-cr-20082-.]DB Document 56 Filed 08/31/05 Page 1 of 2 Page|D 61

rN THE UNITED srArEs DISTRICT CoURT Fu£c) sr ,i._s____ o.c.
FoR THE WEsTERN DISTRICT oF TENNESSEE
WESTERN DNrsIoN 05 AUG 31 PH 3= 39

 

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UNITED STATES OF AMERICA

 

V- 05-20082-3

RODERCUS FREEMAN

 

ORDER ON ARRAIGNMENT
SUPERSEDING INDICTMENT

This cause came to be heard on OS’/ 321 /CLF , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:

NAME }/}“)(/W?w Qpai'm¢¢mp gm WM §%ww;whoisRetained/Appointed-

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may Stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

§ .//'/;w//,¢J @_,

UNITED STATES MAGISTRATE JUDGE

 

CHARGES:18:1951;18:924(0);18:2113;18:1512',

U. S. Attorney assigned to Case: T. Arvin

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 56 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

